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                  Exhibit 6
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                                                                                                    USOO88251.12B1


(12) United States Patent                                                     (10) Patent No.:     US 8,825,112 B1
       Fraden et al.                                                          (45) Date of Patent:      Sep. 2, 2014
(54) MOBILE COMMUNICATION DEVICE WITH                                             4,986,672 A         1/1991 Beynon
        ELECTROMAGNETIC RADATION SENSORS                                          5,592,148 A        1/1997 Morales
                                                                                  6,906,663 B2       6/2005 Johnston
(71) Applicants: Jacob Fraden, San Diego, CA (US);                                7,611,278 B2 11/2009 Hollander et al.
                 David A. Pintsov, San Diego, CA (US)                             7,728,281 B2 * 6/2010 Chen ............................. 250,221
                                                                                  7,947,222 B2        5, 2011 Bae et al.
(72) Inventors: Jacob Fraden, San Diego, CA (US);                                 8, 108,015 B2 *     1/2012 Sakashita et al. .......... 455,5753
                                                                            2007/0129.105 A1          6, 2007 Shen
                David A. Pintsov, San Diego, CA (US)                        2007/0282218 A1          12/2007 Yarden
                                                                            2010, 0125438 A1          5, 2010 Audet
(*) Notice:           Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35              * cited by examiner
                      U.S.C. 154(b) by 0 days.
(21) Appl. No.: 14/190,456                                                 Primary Examiner — Sonny Trinh
(22) Filed:           Feb. 26, 2014
                                                                           (57)                        ABSTRACT
(51) Int. Cl.
        H04M I/00                   (2006.01)                              A hand-held mobile communication device, Such as Smart
        H04788/02                   (2009.01)                              telephone, alone or in protective case, incorporating sensors
        H04M I/02                   (2006.01)                              and signal conditioning modules for measuring signals from
(52) U.S. Cl.                                                              external sources of electromagnetic radiation (EMR) in dif
        CPC ............ H04 W88/02 (2013.01); H04M I/0264                 ferent spectral ranges. These include detector monitoring
                                                            (2013.01)      EMR that pose potential health hazards or may interfere with
        USPC ........................................ 455/556.1; 455/344   various electronic devices. Other integrated EMR sensor is a
(58) Field of Classification Search                                        photodiode for the ultraviolet detection to monitor the user's
        USPC ......... 455/344, 550.1, 556.1, 557, 67.11, 423              Sun exposure and a thermal infrared detector for non-contact
        See application file for complete search history.                  measurement oftemperature of humans or inanimate objects.
(56)                     References Cited
                                                                           This detector in combination with a digital camera and a
                                                                           pattern recognition signal processing allows accurate non
                    U.S. PATENT DOCUMENTS                                  contact measuring temperatures at specific location.
       3,971,943 A        7, 1976 Jeunehomme
       4,854,730 A        8, 1989 Fraden                                                     13 Claims, 7 Drawing Sheets




                                                          Find edges in the image


                      Caiciate cross-correiation function between the image and the snipiate
                                                                                                                        59


                             63


                                                               EXCeed threshold



                Compute distance to IR lens

               67
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                    says                            S.   13
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       74                          sys:
                                   SSS        SSSSS


                                                             73




                    81              83                  85

     from antenna
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                                                    US 8,825, 112 B1
                              1.                                                              2
    MOBILE COMMUNICATION DEVICE WITH                            reasons to measure the level of personal exposure to Sun
    ELECTROMAGNETIC RADATION SENSORS                            radiation. The free-standing UV monitors are known in art as
                                                                exemplified by the U.S. Pat. No. 3,971,943 issued to Jeune
   This application is a continuation of the non-provisional homme et al. that is incorporated herein as a reference.
U.S. patent application Ser. No. 13/303,054 filed on 22 Nov., 5 There are numerous patents related to non-contact tem
2011, now U.S. Pat. No. 8,275,413, that claims the priority of perature measurements by means of thermal (infrared) radia
provisional U.S. patent application Ser. No. 61/627,070 filed tion passively emanating from a Surface of an object. Typical
on 17 Sep., 2011, and the currently pending PCT patent sensors that operate in the infrared (IR) range of thermal
application No. PCT/US 12/51676 filed on 21 Aug. 2012.          radiation are either thermopiles or pyroelectrics as exempli
   The disclosures of the prior related applications and the 10 fied by the industrial non-contact thermometer of U.S. Pat.
U.S. patent are fully incorporated by reference herein.         No. 4,986,672 issued to Beynon and the medical infrared
                                                                   thermometer of U.S. Pat. No. 4,854,730 issued to Fraden.
         BACKGROUND OF THE INVENTION                                When temperature is measured from the surface (skin) of a
                                                                    human subject, it is desirable to infer from it the inner body
   a. Field of the Invention                                     15 (core) temperature for the diagnostic purposes. The algorithm
   The present invention relates generally to wireless commu for computing the core body temperature from the body Sur
nication devices. More specifically, this invention relates to face temperature is known in art and is exemplified by the
mobile communication devices that incorporate additional U.S. Patent publication No. 2007/0282218 issued to Yarden.
sensors and detectors.                                              All above patents and publication are incorporated herein as
   b. Description of Prior Art                                      references.
   Most wireless communication devices (cellular or mobile             When temperature is measured remotely by means of the
telephones, e.g.) incorporate additional non-communication EMR in the IR range, it is important to find a correct location
features, such as imaging (photo and video), personal plan on the surface of the object where the temperature should be
ners, games, etc. There are numerous inventions that attempt measured, and an optimal distance from that location to the IR
to include among these additional features the measurement 25 sensor. One known method for finding the desired distance is
and/or monitoring of external signals such as temperature. to incorporate a proximity sensor into an IR thermometer as
These inventions are exemplified by the following selection exemplified by the U.S. Pat. No. 7,611,278 issued to Hol
that is incorporated herein as references.                          lander et al. that is incorporated herein as a reference. How
   U.S. Pat. No. 7,947,222 issued to Bae et al. teaches com         ever, the cost and complexity of incorporating a proximity
pensation for ambient temperature for measuring response of 30 sensor in a mobile communication device together with
a biosensor. US patent Publication No. 2007/0129105 issued inability of the proximity sensor to determine the correct
to Shen describes a contact earthermometer having an elon position of the IR sensor make it desirable to find an alterna
gated ear probe embedded in a mobile communication tive solution.
device. These and other inventions demonstrate that wireless           Detection of thermal electromagnetic radiation for creating
communication devices are in fact multi-function instru 35 thermal images of the objects whose temperatures differ from
ments whose purpose is much broader than just transmitting the Surroundings is well known in art. Thermal imaging cam
and receiving acoustic signals. There are numerous additional eras are exemplified by the U.S. Pat. No. 7,977,634 issued to
functions that such devices can perform by utilizing a synergy Thiele et al. that is incorporated herein as a reference. Ther
between their components and additional sensors. These sen mal images can be used in many applications, including
sors, among many, may include sensors for monitoring elec 40 medical (detection of subcutaneous inflammations, e.g.), sci
tromagnetic radiation (EMR) originated from external entific research, security, Surveillance, etc.
sources. The EMR forms an electromagnetic field (EMF).                 Another EMR measurement system that is subject of the
Spectrum of the field may be extremely broad ranging from present invention is used for monitoring the EMF pollution.
constant levels of electric and magnetic fields to alternating The pervasive nature of EMF in modern life, and particularly
EMF of very long wavelengths approximately from 6-106 m 45 in workplaces and at home causes legitimate concerns about
(corresponding to frequency of 50 Hz) to UV and further to potential, particularly long term, health effects of EMR.
X-rays. The present invention relates to three rather broad Devices that emit this radiation include computers, computer
portions of the EMF spectrum. One is the portion having terminals, computer tablets, cellular phones, routers, televi
wavelengths from approximately 5-106 m to 2.5 cm, that is sions, various Wi-Fi and Bluetooth devices. The exposure of
from very low frequency of 50 Hz to very high frequency of 50 children and young adults to mobile telephones and mobile
about 12 GHz that embrace EMRs emanated from high electronic tablets reached such a level that in several countries
Voltage power lines, electric motors and generators, fluores there is either adopted or proposed legislation limiting use of
cent lights, wireless routers and cellular telephones. These such devices by children. On the other hand, the ubiquitous
EMF create the so-called low and radio-frequency EMF pol nature of mobile communication devices makes them the
lution that may have negative effects on humans and interfere 55 most natural candidates for measuring the levels of ambient
with electronic equipment. Humans subjected to strong EMF           EMR. While there are numerous specialized devices
may have increased risk of developing serious diseases. Such designed to gauge the level of EMF, the mobile communica
as cancer, loss of reproductive functions, etc. Electronic tion devices already possess most of the needed components
equipment subjected to the interfering EMF may malfunc that would allow to perform yet another useful function: to
tion.                                                            60 measure and alert the user of potentially dangerous levels of
   Another portion of the spectrum that is also a subject of this surrounding EMF and simultaneously locate the places inher
invention is the mid and far infrared spectral range from about workspace or living quarters where such levels are lower, thus
3:10-6 to 15:10-6 m that is called a thermal infrared EMR.          allowing the user to make intelligent decisions about place
The non-contact infrared thermometers operate in this range. ment of electronic devices both at work places and at home.
   And the third portion of the EMR spectrum is ultraviolet 65 Patent Publication US 2010/0125438 issued to Audet, incor
(UV) having wavelengths in the range of 200-10-9 to porated here as a reference, teaches a method of measuring
400-10-9 m. A UV monitoring may be useful for the health levels of EMF energy and storing a history of such measure
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ments for each user with potential application to health care.         FIG. 7 illustrates the photographic  image of the building
An apparatus, system and a user graphical interface is taught,      structure with the temperature indication prepared for trans
together with a communication system. Therefore this inven mitting via the communication link.
tion requires a special free-standing apparatus that may be            FIG. 8 shows an image of the Subject Superimposed on an
expensive and inconvenient to carry around. U.S. Pat. No. array thermal IR sensor fields of view.
5,592,148 issued to Morales teaches a ranging device that              FIG.9 is a simplified block-diagram of a mobile telephone
issues a warning output of the EMF signal generated by with IR sensor.
various devices. Most of the key components for reliable               FIG. 10 depicts an algorithm for the digital image process
detection of a broad-band EMF signal by a free-standing 10 ing and landmark recognition.
apparatus are know in art as exemplified by the U.S. Pat. No.          FIG. 11 shows a target on the image of the subject.
6,906,663, issued to Johnston incorporated here as a refer             FIG. 12 illustrates a block-diagram of the EMF detecting
ence, that teaches an antenna, power meter, signal equalizer module.   FIG. 13 shows a multi-pixel thermal radiation sensor with
and other components.                                               a focusing lens.
   Therefore, a goal of the present invention is to combine 15
functionalities of the built-in digital photo camera, a non                DETAILED DESCRIPTION OF PREFERRED
contact thermometer and a pattern recognition algorithm for                                EMBODIMENTS
guiding the user for a proper positioning of the mobile com
munication device, thus insuring the optimal conditions for            The central problem in non-contact temperature measure
obtaining a reliable temperature measurement.                       ment is finding a location on the Surface of the Subject or
   Another goal of this invention is to utilize the wireless object that is best suited for such measurement that is free
capabilities of a mobile communication device for detecting from various obstructions and occlusions such as clothing,
and measuring the EMF signals for the purpose of assessing hair, decorations, etc. Furthermore, due to limitations of the
levels of ambient radiation.                                        optical components, the non-contact IR sensor should be
   And another goal of this invention is to integrate a UV 25 positioned within a specific range of distances from the Sur
detector with a mobile communication device. Further goals face of the object where temperatures are measured. On the
of the invention will be apparent from the foregoing descrip human face, these locations include the area of the temple
tion of preferred embodiments.                                      within about 1 cm of the corner of the eye and the area of the
                                                                    forehead above the root of the nose between the eyes. The
             SUMMARY OF THE INVENTION                            30 optimal range of distances between the Surface of the skin and
                                                                    the IR sensor is between 2 and 10 cm. The present invention
   A mobile communication device incorporates one or more utilizes the imaging capabilities of a camera-equipped com
sensing means for receiving and processing the EMF signals munication device to assist in accurate positioning of the
of different spectral ranges. Different spectral ranges require sensor embedded into the communication device. The inven
different types of sensors. For detecting the ambient electro 35 tion provides the device's operator with a sound and visual
magnetic radiation pollution in a low and radio frequency indicators signaling by way offeedback the optimal position
ranges an antenna is employed, possibly the same antenna of the embedded sensor for taking temperature measurement
that is used for a mobile communication. For the UV range a or detecting other electromagnetic radiation. This feedback is
special photo-diode is used, while for a non-contact tempera suitable for both taking the operator's own temperature as
ture measurement the electro-magnetic radiation is detected 40 well as taking the temperature of another person. FIG. 1
by a thermopile. When the electro-magnetic radiation reaches illustrates the back 3 and front 2 sides of the mobile commu
a predetermined threshold, an alarm is generated to alert the nication device 1. The lens 6 of the digital photographic
user. A digital camera of the mobile phone continuously camera is positioned alongside with the lens 7 of an IR sensor.
obtains images of the external object, Such as a human face, The phone 1 contains a display 4 and either hard or soft keys
processes the images for identifying facial landmarks and 45 5 positioned on the monitor 12. The speaker 11 can provide an
guides the user towards the optimal aim of the thermal radia audio feedback either by spoken voice or tone. The antenna
tion sensor at the pre-identified area of the face in relation to 30 (shown by a dotted line) typically is positioned inside the
the landmarks. The obtained thermal signal is processed by housing (enclosure) but in Some cases may protrude out
the microprocessor (computer) for computation (determina wardly (not shown).
tion), display and transmission of information, Such as tem 50 The mobile communication device, among other compo
perature, e.g. Alternatively, the digital camera may function nents incorporates a non-contact temperature module. The
as a “viewfinder for aiming the EMF detector.                       module includes the infrared (IR) temperature detector, opti
                                                                    cal elements, reference temperature sensor and other relevant
          BRIEF DESCRIPTION OF DRAWINGS                             components known in art.
                                                                 55    FIG. 9 is a block diagram of the wireless communication
   FIG. 1 shows the back (left) and front (right) sides of a device that incorporates the present invention, specifically a
phone with an IR and video lenses.                                  non-contact IR thermometer. Power supply 27 is a source of
   FIG. 2 illustrates a cross-sectional view of the cell phone energy for all components of the device. The microprocessor
with an IR and video sensors.                                       26 (computational means that may include memory) controls
   FIG. 3 shows a cross-sectional view of the thermal IR 60 all external components and performs necessary computation
SSO.                                                                and image pattern recognition according to the algorithms
   FIG. 4 shows three photographic images for three distances described below. IR sensor 15 is appended with a signal
from the subject: too far (A), too close (B) and normal (C).        conditioning circuit 25 whose purpose is to match the sen
   FIG.5 illustrates positioning of IR sensor field of view over sors, 15, output signal format with the input format of the
the subject’s eye.                                               65 microprocessor 26. Imaging sensor 16 is part of the imaging
   FIG. 6 shows part of a building with the field of view of a circuit. Monitor 12 displays visual information, while the
thermal IR sensor.                                                  speaker 11 provides audible feedback. The wireless commu
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nication module 29 that generally incorporates radio trans             FIG. 4 shows the subject’s face with the preferred IR spot
mitter/receiver along with the antenna 30 performs wireless 24being located near the eye 23. This spot 24 is the area of the
communication. Other essential components (like micro skin from which the IR signal should be collected for better
phone, e.g.) that are part of the communication device but not accuracy of measurement. The eye 23 has a distinct shape and
required for functions of the current invention, are not shown 5 its size varies only slightly over the human population. Thus,
for clarity.                                                        optical images of facial features such as eye 23 can serve as
   FIG. 2 shows two sensors: the IR sensor 15 and the photo “landmarks' that can guide the feedback system to help in
imaging digital sensor 16 positioned on the circuit board 14 correctly aiming the IR lens 7 toward the preferred location
inside the phone enclosure (housing, e.g.) 13. Note that the IR on the skin Surface. Processing of the face image allows the
lens 7 is situated substantially flash with the surface of the 10 measurements taken at the optimal range of distances from
enclosure 13. As a rule, the angle of view 18 of the imaging the skin. FIG. 4-A shows an image of a human face taken from
sensor 16 is much wider than the angle of view 17 of the IR too large a distance for accurate measurement of the tempera
sensor 15. Thus the field of view 70 of the IR sensor 15 is         ture due to interferences from the stray elements such as hair,
much smaller than the field of view 71 of the imaging sensor clothing, decorations, etc. which enter the field of view 38 of
16. The smaller field of view 70 is part of the larger field of 15 the IR sensor.
view 71. For example, the angle of view 18 may be in the               FIG. 4-B illustrates an image taken too close to the skin.
range of 90°, while the angle of view 17 is between 0 and 15°. While a very short distance under ideal conditions would not
   Terms “sensor and “detector' are used herein inter               result in the increased measurement error, there is a possibil
changeably. FIG.3 illustrates a cross-sectional view of an IR ity of touching the skin by the mobile communication device
sensor 15. It incorporates a thermopile element 21 positioned and thus cooling its Surface. That may cause an excessively
inside the metal housing 19. A reference temperature sensor low temperature reading. FIG. 4-C shows an image formed
22 monitors temperature of the substrate 20. Note that the from an optimal distance to the skin surface where the IR field
angle of view 17 is controlled by the IR focusing lens 7 that of view 38 covers substantially the preferred IR spot 24 with
may be fabricated from silicon or germanium, preferably minimal inclusion of stray elements. The photo image from
coated with the anti-reflective (AR) coating. The lens 7 focus 25 the digital image sensor provides the necessary pattern rec
ing properties are achievable either by forming at least one ognition features to determine both the optimal Superposition
convex surface or by etching into the lens the Fresnel grooves. of the IR field of view 38 on the face image 35 (FIG. 5), and
An IR lens 7 is fabricated of a material suitable for operating the correct distance from the IR sensor to the skin. FIG. 5
in the mid and far infrared spectral ranges. Suitable materials illustrates the correct size 39 of the eye 36 in the image, while
are silicon and germanium. In some embodiments, instead of 30 dimensions 40 and 41 designate the distances from the center
lens 7, a reflective focusing system may be employed. An of the IR field of view 38 to the eye 36.
example of such is a curved (parabolic) mirror. These design Computer-Assisted Aiming of IR Sensor
options are well known in art and beyond the scope of this             A key component of the present invention is the combined
disclosure and thus not discussed herein in detail. The IR          use of both the IR and the photo sensors in a manner that
(thermal radiation) sensors are also well known in art (see, for 35 assures that the IR measuring location is automatically found
example, J. Fraden “Handbook of modern sensors'', 4th ed, by the system from the optical images of the Subject’s face.
Springer Verlag, 2010, incorporated hereinas a reference). To This assisted guidance is especially beneficial when the user
determine the object or subject Surface temperature, the tem takes temperature of herself due to her limited ability to
perature is computed from signals generated by the IR sens observe the display 4 (FIG.1), and is accomplished by finding
ing thermopile element 21 and ambient reference sensor 22. 40 landmarks on the human face that can be used for automated
   While temperature of the human skin differs significantly guidance of the IR sensor.
from the inner (core) temperature of the human body, there             Locating features ("landmarks' in our terminology herein)
are well known in the art methods for conversion of the skin        present in the images of human faces can be accomplished by
temperature to the inner temperature of the body (e.g. U.S. various methods known in art, e.g.: www.cs.princeton.edu/
Patent publication No. 2007/0282218 issued to Yarden). 45 courses/archive/fall08/cos436/FinalReports/Eye Gestur
Therefore, these methods are not described here.                    e Recognition.pdf incorporated as a reference herein.
   In the preferred embodiment of the present invention,               Another method that can be used for frontal eye detection
images of the face of the Subject oftemperature measurement was published in P. Wang, M. B. Green, Q. Ji, and J. Wayman
are taken by the communication device's camera as the opera “Automatic Eye Detection and Its Validation.” Computer
tor (user) moves the camera towards the object's face and 50 Vision and Pattern Recognition Workshop, 2005, CVPR
across the face. These images can be taken with a pre-defined Workshops, IEEE Computer Society, Conference on, Vol. 03,
frequency, e.g., 5 frames a second or 10 frames a second or 23-25 Jun. 2005, pp 164-172, incorporated as a reference
any other frequency that insures that at least one image is herein.
obtained when the embedded infrared sensor is within 2-10              Here we describe the template matching or cross-correla
cm distance from the temple or forehead. A conventional IR 55 tion method of recognition as follows.
sensor contains a single sensitive pixel (thermopile 21 in FIG.        The color images from a digital camera are suitably pre
3) that collects IR signal from the surface whose optical processed to provide binary (bitonal, black and white) images
image is formed by the multi-pixel photographic sensor 16.          that allow a faster execution time of the Subsequent algo
   The present invention teaches how to achieve aiming of the rithms. FIG. 10 illustrates a basic flowchart of a recognition
IR temperature sensor at a correct location on the Surface of 60 algorithm for landmarks such as eyebrows or eyelids. In the
the object together with an optimal distance between the image pre-processing step, the image is first run through an
sensor and the surface of the object at which the temperature edge detector Such as Canny edge detector (Canny J., “Find
should be taken. This can be accomplished by two methods ing Edges and Lines in Images', MIT AI Laboratory Techni
that are described in detail below. One method is based on          cal Report, 720, June, 1983 incorporated here as a reference),
automated, computer assisted, guidance of the user aiming 65 resulting in a binary image. (FIG. 10, step 53). Once this
the IR temperature sensor and the other method is based on a pre-processed image is obtained, the system searches for
manual guidance.                                                    certain landmarks in this image. In the frontal image of the
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subjects face, these landmarks could be certain facial fea peratures of human body and of non-metallic Surfaces of
tures such as the eyebrows, the iris with the pupil of both eyes, inanimate objects are different and well known in the art and
or the eyelids of the subject. In the profile image, the eyelids, thus can be employed in the corresponding operating modes
the iris with the pupil and the eyebrows are sought for one eye. of the device. To Switch between the human and non-human
In the case of a profile image of the face, only a partial view operating modes, a keyboard 5 can be used.
of facial features is available the fact that suits the template     Once the aim of the IR sensor (the calculated position of the
matching approach.                                                sensor) is determined, Voice or image guidance from the
   While the template matching approach can utilize various device's output components (a speaker and/or display) assists
templates, there are computational advantages in using the the user in positioning the device for taking accurate tempera
templates of elliptical shape as described in D. A. Pintsov, 10 ture measurements. This assistance instructs the user how to
“Invariant pattern recognition, symmetry and Radon trans          move the mobile communication device: closer, further, left,
forms”. J. of Opt.Soc. of America, A, 1989, vol. 6, No. 10, pp. right, up, down, etc. When the correct location is detected, a
1544-1554, incorporated as a reference herein.                    temperature reading is automatically taken, Surface tempera
   The described facial landmarks can be approximated by ture is computed and shown on display 4, or spoken via the
elliptical templates with variable major and minor axes since 15 speaker 11 (FIG. 1), or transmitted by the wireless commu
these landmarks have the shapes of partial ellipses. The nication module 29 (FIG.9).
ranges of axes lengths are found from the size of the corre          In another embodiment of the present invention, a more
sponding facial features and the resolution of the camera FIG. complex multi-pixel IR sensor can be employed instead of a
10, Step 55. The use of elliptic templates of elastic shape (see single-pixel IR sensor. In this case, the thermopile 21 (FIG.3)
D. A. Pintsov, as above) is illustrated in FIG. 10, step 57.      can be divided into a plurality of areas (IR pixels) that will
   The template matching via cross-correlation with an ellip generate signals corresponding to adjacent locations on the
tic template with axes of varying sizes locates the partial       measured surface. Such a sensor is illustrated in detail in FIG.
eyebrows and the contour of the eye (upper and lower eyelids) 13 that shows a metal header 90 that carries a substrate 91
as depicted in FIG. 10, step 57, since coordinates of these supporting a membrane 92. Multiple thermal sensitive pixels
landmarks are local maxima of the cross-correlation function 25 93 are positioned on the membrane 92 and respond to thermal
(see D. A. Pintsov, as above). As observed above, the param infrared beam 96 that is focused by the optical element (a lens,
eters of this template (major and minor axes) are restricted to e.g.) 95 on each individual pixel. Signals from multiple pixels
the admissible range of sizes commensurate with the range of create a thermal image of the objects surface. FIG. 8 illus
sizes of the corresponding facial features. Depending on the trates a multi-pixel IR image with the individual pixels 42
power of the microprocessor employed in the communication 30 (total 12 in this example) that are Superimposed onto the
device, it is desirable to locate more than one feature (both the image of the subject's face. After the landmark (an eye 36,
eyebrow and the contour of the eye). If the values of the local e.g.) is identified automatically, signals from the superimpos
maxima exceed the predetermined thresholds that reflect the ing IR pixels 43 will be used for measuring and computing
minimal acceptable number of pixels lying on the eyebrows temperature. Other spurious pixels 37 that are either at a
and the visible contour of the eye, the system accepts the 35 wrong location or containing obstructions, such as an eye
found features (leading to step 63 in FIG. 10), otherwise the brow or part of nose, are excluded from computation.
landmarks are not found and the input image of the face is Manual Aiming of IR Sensor
rejected (FIG. 10, step 61). Finally, as in step 63, FIG. 10, the    When the display of the mobile device is visible by the
calculated positions of the eyebrow and the eyelids must be operator measuring the temperature (the user), which is the
consistent since the eyebrow must be located above the eye, 40 case when the operator takes the temperature of another Sub
which the system verifies.                                        ject rather than of herself, the following embodiment of the
   Partial ellipses 60 and 50 found by the template matching present invention is advantageous for ease of implementation.
algorithm are shown in FIG. 5 superimposed on the actual The device's display has a designated area that is demarcated
contours of the eyebrow 37 and the eye 36, respectively. Use by a special graphical element. This element is a circular or
of more than one ellipse increases reliability of the recogni 45 rectangular target 74 illustrated in FIG. 11. Other shapes may
tion.                                                             be employed. The target 74 substantially coincides with the
   Since the average dimensions of these facial features are IR sensor's field of view 70 (FIG. 2) and thus the display
known together with the parameters of the camera lens of the serves as a viewfinder. The operator manually aims the device
mobile device (resolution, focal length, etc.) the size of the at the object (e.g. at the head 73). When the target 74 is
detected facial features permits finding the optimal distance 50 Superimposed on the area of an object selected for tempera
to the object for a more accurate temperature measurement. ture measurement and the target 74 approximately encom
When the detected feature size is smaller than the appropriate passes an outline of the selected area, the IR sensor interms of
size of the image of a facial feature under known camera a location and distance is properly positioned for taking the
resolution, the distance is too large. Similarly, when the fea temperature measurement. The net result is the same as with
ture is larger than expected with the known camera resolution, 55 the computer-assisted method of aiming the IR lens at the
the distance is too short. When the detected and the expected optimal position 38 (FIG. 5) of the IR field of view, for
sizes are close to one another, the distance is nearly optimal. example, on the Subject temple.
   Another feature of the present invention is its ability of        Yet another feature of the present invention lies in the
measuring the Surface temperature of inanimate objects. ability of the microprocessor to record and store the tempera
Examples of Such objects are the building structures and 60 ture measurements over a desired period of time and transmit
machinery having non-reflective Surfaces in the IR spectral via communication abilities of the device any desired data to
range of 3-20 micrometers. FIG. 6 illustrates a building door a medical facility or personnel. This assembly of data can be
where the IR field of view 33 is superimposed on the area of plotted on the display in form of a time chart. If the commu
interest whose temperature is to be measured. The resulting nication device is equipped with a Global Positioning System
photo image can be combined with the computed temperature 65 (GPS) another advantage the present invention derives from
34 (FIG. 7) for wireless transmission over the communication using this GPS is locating the nearest to the user pharmacy
line to a remote location. The methods for calculating tem and directing the user to this pharmacy to obtain the necessary
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drug if the temperature level warrants such an action, that is     termined threshold and if the magnitude exceeds such a
when the measured temperature exceeds a pre-defined thresh         threshold, an alarm is optionally generated by an output
old stored in the computational means.                             device. Examples of such a device are the speaker 11 and
   In another application, athermal image formed by a multi        vibrator 80. A visual display (monitor 12) can show a numeri
pixel thermal radiation sensor, such as illustrated in FIG. 13,    cal value of the EMF magnitude. FIG. 12 illustrates structure
can be processed by the processor 26 and sent to display 4 as      of the power measurement module 82 that receives RF signal
a black-and-white or false colors image representing tem           from antenna via the Switch 81. This signal is generally very
perature distribution within the field of view 70. Thus, the       weak and may have shape either of continuous or pulsed
mobile communication device functions as a thermal imaging         noise-like Voltage 87, or, alternatively a more specific shape,
CaCa.                                                           10 like a 60 Hz sine wave, e.g. Amplifier83 brings the received
   In case when temperature is taken from a portion of a signal to a higher level 88 suitable for filtering and rectifica
human body, a head, e.g., the inner body temperature can be tion by a signal conditioner 84. The analog signal 89 is fed to
computed from the skin temperature by employing one of the analog-to-digital converter 85 that outputs digital stream
known in the art algorithms.                                       86 for further processing by the microprocessor 26.
UV Monitoring                                                   15    While the present invention has been illustrated by a
   A personal UV monitor may be useful for managing expo description of various preferred embodiments and while
Sure to Sun, for example for beach goers. For the purpose of these embodiments have been described in some detail, it is
monitoring levels of the UV radiation, a separate sensorsen not the intention of the Applicants to restrict or in any way
sitive in the range can be installed into the mobile communi limit the scope of the appended claims to such detail. Addi
cation device, however, its location with respect to the pho tional advantages and modifications will readily appear to
tographic camera is not as critical as for the IR sensor. It is those skilled in the art. The various features of the invention
important that the sensors window can be exposed to the may be used alone or in numerous combinations depending
outside. This window should be fabricated from a material          on the needs and preferences of the user. This has been a
Substantially transparent in the UV spectral range. Examples description of the present invention, along with the preferred
of the window materials are compressed inorganic salts of 25 methods of practicing the present invention as currently
alkaline earth metals, such as KBr. The UV sensor in effect is     known. However, the invention itself should only be defined
a photo-detector whose sensitivity in enhanced in the UV by the appended claims.
region. A signal received from the UV sensor should be                What is claimed is:
digitized, its magnitude computed and integrated over a pre           1. A method of measuring the magnitude of electromag
determined time by the microprocessor 26. This allows moni 30 netic radiation in a selected location by a mobile communi
toring a cumulative effect of the Sun exposure. A continuous cation device, comprising the steps of
integration however my not be practical when the UV sensor            providing a mobile communication device that comprises
is incorporated with a mobile communication device that is               an enclosure, a digital imaging sensor having a first field
not exposed to Sun over the same period as the user. In other            of view, such sensor is for generating a digital image of
words, the cell phone is not laying under the Sun while the 35           the selected location, a computer, and an output compo
user is Sunbathing. This can be resolved by taking several               nent for conveying information to an operator,
samples of the Sun UV radiation, for example, at the begin            coupling to the enclosure a module that is responsive to
ning, middle and end of exposure. Then the computational                 intensity of the electromagnetic radiation in a selected
means (microprocessor 26) can interpolate the UV levels                  spectral range;
between the sample points (and can even extrapolate beyond 40 enabling positioning the enclosure in a vicinity of the
a specific point) and compute an estimated integral level of             Selected location;
the UV exposure. An alarm may be activated when the cumu              enabling the module for generating a signal representative
lative level of exposure reaches a pre-determined threshold              of the electromagnetic radiation;
stored in the computational means. The instantaneous                  enabling processing said signal to extract information
samples of the UV radiation may be used by a computational 45            related to intensity of the electromagnetic radiation in
means for Suggesting a Sufficient grade of the UV protection             the selected location, and
lotion or duration of the exposure.                                   enabling sending said information to the output component
EMF Pollution Monitoring                                                 for conveying the information to the operator.
   Another important function of a mobile communication               2. The method of measuring the magnitude of electromag
device that can be accomplished according to the present 50 netic radiation of claim 1 comprising a further step of
invention is detection of ambient EMF intensity in the low            positioning in the module at least one electromagnetic
frequency (LF) and radio frequency (RF) ranges. This                     radiation sensor having a second field of view wherein
embodiment uses either a separate antenna or takes advantage             said first field of view is wider than the second field of
of the antenna that is always present in the mobile device. The          view and said electromagnetic radiation sensor gener
antenna serves as a sensor of the EMF radiation when not 55              ates a signal representative of a physical property of the
used for communication. FIG.9 shows the following compo                  selected location within the second field of view.
nents used for detecting EMF: the antenna switch 81 and the           3. The method of measuring the magnitude of electromag
EMF power measurement module 82, both being controlled netic radiation of claim 1 further comprising the steps of
by the microprocessor 26 which is a computational means.              enabling moving said enclosure to aim the digital imaging
When the mobile communication device is not in a signal 60               sensor at the selected location and observing on the
transmission state and antenna 30 doesn’t radiate, it can be             output device the digital image of the selected location,
used for a broadband reception of external LF and RF EMF                 wherein such selected location has a geometrical fea
signals. On command from microprocessor 26, Switch 81                    ture;
directs receiving EMF signals to the power measurement                enabling Storage in the computer a pre-defined template
module 82 that feeds microprocessor 26 with a digital signal 65          being a desired outline of the geometrical feature;
representing the EMF magnitude in vicinity of antenna 30.             enabling Superimposing a template with the digital image
The microprocessor compares the magnitude with a pre-de                  of the geometrical feature;
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                          11                                                                   12
  enabling the output component to indicate the moment               enabling said computer for identifying and locating said
    when the template and the image of the geometrical                 landmark;
    features are substantially superimposed, and                     enabling comparing the sizes and positions of said land
  enabling determining information from said signal, such              mark and said template:
    information being related to intensity of the electromag 5       enabling the output device for generating a feedback signal
     netic radiation.                                                  to the operator;
   4. The method of measuring intensity of electromagnetic           enabling moving said enclosure for substantial matching
radiation of claim 1, further comprising the steps of                  the sizes and positions of said landmark and said tem
   enabling said computer for identifying and locating a land          plate.
      mark from said geometrical features within the first field of claim 5,method
                                                                10  7. The          of extracting information about temperature
                                                                              further comprising the steps of
      of view, such landmark having salient geometrical fea        enabling the output device for displaying an image of the
      tures of the selected location;                                  object derived by the computer from said first signal;
   enabling the computer for comparing the size and position       enabling displaying a target, such target being an outline of
     of said landmark with a reference outline of the land
    mark stored in the computer;                              15       the field of view:
  enabling the output device for generating a feedback signal     enabling moving the enclosure to superimpose the target
    to the operator for moving the enclosure to a position            and the selected portion of the object.
      where the landmark and the reference outline are sub        8. The method of extracting information about temperature
      stantially of the same size and substantially at the same offurther
                                                                   claim 5,
                                                                           comprising the step of enabling a conversion of the
      position;
   enabling determining the output information from said              Surface temperature of the object into the inner tempera
      signal.                                                         ture of the object.
   5. A method of extracting information about temperature        9. The method of extracting information about temperature
by a mobile communication device from electromagnetic 25 offurther claim 5,
                                                                            comprising the step of enabling a generation an
radiation being naturally emanated from a selected portion of         alarm when temperature of the object exceeds a preset
an object, comprising the steps of                                    limit.
   providing a mobile communication device comprising an
      enclosure, a digital imaging sensor, a computer, and an ture10.ofThe   method of extracting information about tempera
                                                                         claim  5, further comprising the step of enabling a
      output device for conveying information to an operator;
   coupling to the enclosure an electromagnetic radiation 30 modification      of the second signal by the first signal.
                                                                   11. A mobile communication device comprising a com
      detector operating in the infrared thermal spectral range puter  and output device, further comprising
      and having a field of view:                                 a  module   incorporating a first sensor for receiving from an
   coupling to the enclosure the digital imaging sensor in a          object electromagnetic radiation in a selected spectral
      mutual proximity and alignment with the electromag              range and related to a property of the object, such first
                                                              35
     netic radiation detector;                                      Sensor generating a first signal;
  enabling an operator for aiming the digital imaging sensor
     and electromagnetic radiation detector at the object;       a second   sensor for generating a second signal related to the
  enabling the digital imaging sensor for generating a first        object, and
     signal representative of an image of the object;            a signal conditioner connected to the first sensor for receiv
  enabling the electromagnetic radiation detector for gener 40      ing and conditioning said first signal, wherein the com
     ating a second signal representative of surface tempera        puter  is coupled to the signal conditioner and adapted for
     ture of the object within the field of view:                   determining     from the first signal the property of the
  enabling extraction of information about the surface tem          object,   said computer    is further adapted for modifying
     perature of the object from the said second signal, and 45 12.the   first signal by the second signal.
                                                                      A mobile communication device of claim 11, wherein
  enabling sending the information to said output device.      said first sensor is a thermal radiation sensor responsive to
  6. The method of extracting information about temperature surface     temperature of the object.
of claim 5, further comprising the steps of
  enabling the computer for generating a template approxi        13. A mobile communication device of claim 11, wherein
     mating the shape of a landmark, such landmark being an said second sensor is a digital imaging camera.
     identifiable part of the object;                                                   ck  ck    ck ck   ck
